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                    IN THE UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF OHIO
                                  Eastern Division



 WOLF CREEK CONTRACTING                               Case No.: 2:19-cv-04142
 COMPANY, LLC,
                                                      Judge Sarah D. Morrison
               Plaintiff,
                                                      Magistrate Judge Kimberly A. Jolson
        v.
                                                      PLAINTIFF'S MOTION FOR
 CALVIN CONTRACTORS, INC.,                            PARTIAL SUMMARY
                                                      JUDGMENT
               Defendant.




              Plaintiff, Wolf Creek Contracting Company, LLC, by and through counsel, and

pursuant to Federal Rule of Civil Procedure 56(a), moves this Court for an Order granting

summary judgment as follows:

              1.      With respect to Count II of Plaintiff's Complaint, by ordering and

       declaring that Defendant's Mechanic's Lien, filed on August 16, 2018 at Book 6, Page

       536 in the Office of the Clerk of the Nicholas County Commission, in Nicholas County,

       West Virginia, is void, legally ineffective, released and/or discharged; and

              2.      With respect to Defendant's Counterclaim, by dismissing it in toto without

       prejudice.

              The reasons supporting this Motion are more fully set forth in the attached

Memorandum in Support.
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                                            Respectfully submitted,

                                            /s/ Daniel P. Corcoran
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                                            Counsel for Plaintiff, Wolf Creek Contracting
                                            Company, LLC



                               CERTIFICATE OF SERVICE


              I hereby certify that on January 29, 2020, I electronically filed the foregoing
Plaintiff's Motion for Partial Summary Judgment with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to counsel of record, provided they
are CM/ECMF participants.


                                            /s/ Daniel P. Corcoran
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